       Case 3:18-cv-00345 Document 12 Filed on 02/12/19 in TXSD Page 1 of 2
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                         February 12, 2019
                           UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

                                                 §
                                                 §
BREIT AND DIANE STEELE                           §
                                                 §    CIVIL ACTION NO. 3:18-cv-345
VS.                                              §
                                                 §
WRIGHT NATIONAL FLOOD                            §
INSURANCE COMPANY                                §
                                                 §


                                DOCKET CONTROL ORDER

This case will be controlled by the following schedule.


                                          DEADLINES

1.    February 22, 2019    DEADLINE TO AMEND PLEADINGS Parties may amend
                           pleadings by this date without leave of court. If Plaintiff(s) file(s) an
                           Amended Complaint by this date, Defendant(s) may file a responsive
                           pleading in accordance with Fed. R. Civ. P. 15(a)(3). After expiration
                           of this deadline, a party seeking to amend pleadings must file a motion
                           for leave demonstrating both good cause and excusable neglect in
                           accordance with Fed. R. Civ. P. 6(b)(1)(B).

2.    February 22, 2019    DEADLINE TO ADD NEW PARTIES New parties may be added
                           by this date without leave of court. After expiration of this deadline, a
                           party seeking to add a new party must file a motion for leave
                           demonstrating both good cause and excusable neglect in accordance
                           with Fed. R. Civ. P. 6(b)(1)(B). The attorney causing the addition of
                           new parties will provide copies of this order and all orders previously
                           entered in the case to new parties.

3.    July 26, 2019        Identification of plaintiff's experts and production of experts' reports in
                           the form required by Fed. R. Civ. P. 26(a)(2)(B).

4.    August 30, 2019      Identification of defendant's experts and production of experts' reports
                           in the form required by Fed. R. Civ. P. 26(a)(2)(B).




1/2
       Case 3:18-cv-00345 Document 12 Filed on 02/12/19 in TXSD Page 2 of 2



5.    September 27, 2019 COMPLETION OF DISCOVERY Written discovery requests are
                         not timely if they are filed so close to this deadline that the recipient
                         would not be required under the Federal Rules of Civil Procedure to
                         respond until after the deadline.

6.    N/A                   LIMITS ON DISCOVERY

7. October 4, 2019          DISPOSITIVE MOTIONS

8. December 6, 2019         ALL OTHER PRETRIAL MOTIONS

9. January 3, 2020          JOINT PRETRIAL ORDER AND MOTIONS IN LIMINE
                            Plaintiff is responsible for timely filing the complete joint pretrial
                            order. All information is to comply with the disclosure requirements
                            of Fed. R. Civ. P. 26(a)(3). All parties are directed to read the Court’s
                            Procedures regarding required trial documents and procedures.

10. January 10, 2020        DOCKET CALL is set at 3:00 p.m. Other than as set out in the
                            Court’s Procedures no pleading or document filed within seven days of
                            docket call will be considered by the Court. Any pending motions may
                            be ruled on at docket call, the case will be set for trial, and further
                            pretrial orders may be issued.

11. February 2020           JURY / BENCH TRIAL Case is subject to being called to trial on
                            short notice during this month.

                            Estimated Trial Time: ____
                                                  3-4 days.

      Signed in Galveston, Texas this 12th day of February, 2019.


                                                      ___________________________________
                                                             ANDREW M. EDISON
                                                      UNITED STATES MAGISTRATE JUDGE




2/2
